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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District
                                                 __________      of Colorado
                                                            District  of __________

                  United States of America
                             v.                                    )
                  ALMUNDO CRUZ SINGER                              )        Case No.    1:20CR00386-1
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      ALMUNDO CRUZ SINGER                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information              u Complaint
u Probation Violation Petition            ✔ Supervised Release Violation Petition
                                          u                                               u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  1) Failure to Follow Instructions of the Probation Officer
  2-4) Failure to Notify Probation officer of Change in Residence
  5) Failure to Notify Probation Officer of Change in Employment
  6-10) Possession and Use of a Controlled Substance
  11) Failure to Pay Restitution as Directed
  12) Failure to Participate in Substance Abuse or Mental Health Treatment as Directed by the PO
  13) Failure to Participate in Substance Abuse Testing as Directed by the PO
  14) Failure to Take Substance Abuse Prevention Medication as Directed

Date:
                                                                                           Issuing officer’s signature

City and state:       Denver, Colorado                                                 Jeffrey Colwell, Clerk of Court
                                                                                             Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
